   Case 1:19-cr-00297-ELR-JSA Document 462 Filed 07/07/25 Page 1 of 3
 USCA11 Case: 24-13298 Document: 33-1 Date Filed: 07/07/2025 Page: 1 of 1


                         UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT
                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                          56 Forsyth Street, N.W.
                                          Atlanta, Georgia 30303


David J. Smith                                                                     For rules and forms visit
Clerk of Court                                                                     www.ca11.uscourts.gov


                                          July 07, 2025

Joseph Alex Little IV
Litson PLLC
54 MUSIC SQ E STE 300
NASHVILLE, TN 37203

Appeal Number: 24-13298-JJ
Case Style: USA v. Julie Chrisley
District Court Docket No: 1:19-cr-00297-ELR-JSA-2

The enclosed copy of this Court's Order of Dismissal is issued as the mandate of this court. See
11th Cir. R. 41-4. Counsel and pro se parties are advised that pursuant to 11th Cir. R. 27-2, "a
motion to reconsider, vacate, or modify an order must be filed within 21 days of the entry of
such order. No additional time shall be allowed for mailing."

Any pending motions are now rendered moot in light of the attached order.

Clerk's Office Phone Numbers
General Information: 404-335-6100          Attorney Admissions:         404-335-6122
Case Administration: 404-335-6135          Capital Cases:               404-335-6200
CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141




Enclosure(s)

                                                              DIS-4 Multi-purpose dismissal letter
  Case 1:19-cr-00297-ELR-JSA Document 462 Filed 07/07/25 Page 2 of 3
USCA11 Case: 24-13298 Document: 33-2 Date Filed: 07/07/2025 Page: 1 of 2




                                   In the
                United States Court of Appeals
                        For the Eleventh Circuit

                          ____________________

                                No. 24-13298
                          ____________________

       UNITED STATES OF AMERICA,
                                                     Plaintiﬀ-Appellee,
       versus
       JULIE CHRISLEY,


                                                  Defendant-Appellant.


                          ____________________

                 Appeal from the United States District Court
                    for the Northern District of Georgia
                  D.C. Docket No. 1:19-cr-00297-ELR-JSA-2
                          ____________________
  Case 1:19-cr-00297-ELR-JSA Document 462 Filed 07/07/25 Page 3 of 3
USCA11 Case: 24-13298 Document: 33-2 Date Filed: 07/07/2025 Page: 2 of 2




       2                     Order of the Court             24-13298

       Before JORDAN, LUCK, and BRASHER, Circuit Judges.
       BY THE COURT:
             Appellant’s motion to voluntarily dismiss this appeal as
       moot is GRANTED. The appeal is DISMISSED.
